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               UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
     Plaintiff

             v.
                                        Case No.12-cr-167-01/02/03-SM

Thomas J. Dunn, Quentin Simon,
And Willie Ortiz,
     Defendants

                                  O R D E R


     Defendant Ortiz’s Assented-to Motion to Continue the final

pretrial conference and trial (document no. 24) is granted in

part.     Trial has been rescheduled for the month of September

2013.    Defendant Ortiz shall file a waiver of speedy trial

rights on June 17, 2013.

     The Court finds that the ends of justice served by granting

a continuance outweigh the best interest of the public and the

defendants in a speedy trial, 18 U.S.C. § 3161(h((7)(A)and(B),

in that failure to grant a continuance would unreasonably deny

the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence

under the circumstances.

     Final Pretrial Conference is rescheduled for August 29,

2013 at 11:00 a.m.
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       Jury selection will take place on September 4, 2013 at 9:30

a.m.

       SO ORDERED.



                                    _________________________
                                      Steven J. McAuliffe
                                      U.S. District Judge

June 7, 2013

cc:    Jonathan Saxe, Esq.
       Paul Garrity, Esq.
       Kevin E. Sharkey, Esq.
       Debra Walsh, AUSA
       U.S. Marshal
       U.S. Probation
